                                   Caseyour
     Fill in this information to identify 22-14331-RAM
                                            case:                    Doc 1        Filed 05/31/22            Page 1 of 9
     United States Bankruptcy Court for the:

     ____________________
     Southern              District of _________________
              District of Florida      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        6229  NE 2nd Avenue LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               6229 NE 2nd Avenue                                       300  NE 71st Street
                                                                                                        _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number      Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Miami                         FL    33138
                                           ______________________________________________
                                                                                                        Miami                      FL      33138
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Miami-Dade County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                                   Case 22-14331-RAM                 Doc 1         Filed 05/31/22               Page 2 of 9

                6229 NE 2nd Avenue LLC
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            5313
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?                      Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                             4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
                                                             small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these documents do
                                                             not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                             proceed under Subchapter V of Chapter 11.

                                                                   A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                             accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                             and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934.
                                                             File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter
                                                             11 (Official Form 201A) with this form.

                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          6200 NE 2nd Avenue, LLC                                              Affiliate
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Southern District of Florida
                                                   District _____________________________________________ When                   01/18/2022
                                                                                                                                __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.
                                                                          22-10385-RAM
                                                   Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 2
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              6229 NE 2nd Avenue LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                             ✔




12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000
                                             ✔
                                                                               $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                                Case 22-14331-RAM                      Doc 1           Filed 05/31/22        Page 4 of 9

               6229 NE 2nd Avenue LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              05/31/2022
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Mallory Kauderer
                                               _____________________________________________               Mallory Kauderer
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Manager
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Steven Beiley
                                               _____________________________________________              Date         05/31/2022
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Steven Beiley
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Aaronson Schantz Beiley P.A.
                                               _________________________________________________________________________________________________
                                               Firm name
                                                2 South Biscayne Boulevard Suite 3450
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Miami
                                               ____________________________________________________             FL            33131
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                (786) 594-3000
                                               ____________________________________                              sbeiley@aspalaw.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                912549                                                          FL
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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               6229 NE 2nd Avenue LLC

 Debtor                                                           _                  Case number (if known)
              First Name   Middle Name    Last Name



                                              Continuation Sheet for Official Form 201
10) Pending Bankruptcies

5911 NE 2nd Avenue,               Southern District           01/18/2022                           22-10386-RAM
 LLC                              of Florida

5901 NE 2nd Avenue,               Southern District           01/18/2022                           22-10387-RAM
 LLC                              of Florida

5700 NE 2nd Avenue,               Southern District           01/18/2022                           22-10390-RAM
 LLC                              of Florida

5900 NE 2nd Avenue,               Southern District           01/18/2022                           22-10388-RAM
 LLC                              of Florida

175 NE 55th Street,               Southern District           01/18/2022                           22-10391-RAM
 LLC                              of Florida

5524 NE 2nd Avenue,               Southern District           01/18/2022                           22-10392-RAM
 LLC                              of Florida




   Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                    Case 22-14331-RAM                    Doc 1        Filed 05/31/22           Page 6 of 9

      Fill in this information to identify the case:

                    6229 NE 2nd Avenue LLC
      Debtor name __________________________________________________________________

                                              Southern District of Florida
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                              Check if this is an
      Case number (If known):   _________________________                                                                                         amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                            12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,           Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of              (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact                  debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional           unliquidated,   total claim amount and deduction for value of
                                                                               services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff
     Arnaldo Velez, P.A.                    Arnaldo Velez, Esq.              Services
1    35 Almeria Avenue                      305-461-9499
     Miami, FL, 33134                       avelez@velezlawoffices.com                                                                                     23,699.16


     Halloran Construction                  Andrew Halloran                  Services
2    6709 Biscayne Boulevard                305-545-0405
     #201                                   andrew@halloranconstruction.co
                                                                                                                                                           16,433.33
     Miami, FL, 33138                       m

     Donita Leavitt                         Donita Leavitt                   Services
3    15051 Royal Oaks Lane                  305-467-8740
     #1901                                  donita@rpeqllc.com                                                                                             12,500.00
     North Miami, FL, 33181


     Lamuel Pryce                           Lamuel Pryce                     Services
4    1202 NE 117th Street                   305-384-8078
     Miami, FL, 33161                                                                                                                                      3,900.00


     City of Miami                          305-415-1570                     Recertification Filing
5    Finance Department                                                      Late Fees
     444 SW 2nd Avenue                                                                                                                                     1,815.74
     Miami, FL, 33130

     Miami-Dade County Tax Collector        local.businesstax@miamidade.go   Taxes & Other
6    200 NW 2nd Avenue                      v                                Government Units
     First Floor                            305-270-4949                                                                                                   1,237.50
     Miami, FL, 33128


     Claude Castel                          Claude Castel                    Services
7    1450 NE 109th Street                   954-864-6802
     Miami, FL, 33161                                                                                                                                      1,000.00



8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 1
                                 Case 22-14331-RAM               Doc 1      Filed 05/31/22              Page 7 of 9

                  6229 NE 2nd Avenue LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
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Arnaldo Velez, P.A.
35 Almeria Avenue
Miami, FL 33134


City of Miami
Finance Department
444 SW 2nd Avenue
Miami, FL 33130


Claude Castel
1450 NE 109th Street
Miami, FL 33161


Donita Leavitt
15051 Royal Oaks Lane
North Miami, FL 33181


G Shores Holdings LLC (32.94%)
700 Biltmore Way
Suite C1
Miami, FL 33134


Halloran Construction
6709 Biscayne Boulevard
Miami, FL 33138


JMG Holdings, LLC (20.59%)
700 Biltmore Way
Suite C1
Miami, FL 33134


Lamuel Pryce
1202 NE 117th Street
Miami, FL 33161


Mallory Kauderer


MCCV Holdings LLC (20.59%)
700 Biltmore Way
Suite C1
Miami, FL 33134


Miami-Dade County Tax Collector
200 NW 2nd Avenue
First Floor
Miami, FL 33128


The Rock-Miami Church Inc. (25.88%)
700 Biltmore Way
Suite C1
Miami, FL 33134
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                             United States Bankruptcy Court
                             Southern District of Florida




         6229 NE 2nd Avenue LLC
In re:                                                         Case No.

                                                               Chapter    11
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              05/31/2022                        /s/ Mallory Kauderer
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Manager
                                                Position or relationship to debtor
